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AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations                      (8573)



                 UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF ALABAMA

        UNITED STATES OF AMERICA                          JUDGMENT IN A CRIMINAL CASE
                  V.                                      (For Revocation of Supervised Release)
        JASON TRAVIS SMALLWOOD

                                                          CASE NUMBER: 1:06-CR-173-005
                                                          USM NUMBER: 09508-003

THE DEFENDANT:                                            Domingo Soto, Esquire
                                                          Defendant's Attorney

X       admitted guilt to violation of supervision conditions: 1, 7 & mandatory conditions as set out in
the petition dated 7/16/2010.
        was found in violation of supervision condition(s): ____________

                                                                                Date violation
Violation Number                       Nature of Violation                      Occurred
        1                              Technical
        7                              Technical
Mandatory Condition                    New Offense                              06/18/2010


      The defendant is sentenced as provided in pages 2 through 4             of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

       The defendant has not violated condition(s)                 and is discharged as to such violation(s)
condition.

         IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines, restitution,
costs, and special assessments imposed by this judgment are fully paid.

Defendant's Social Security No.: 2025                      August 11, 2010
Defendant's Date of Birth: 1978

Defendant's Residence Address:
Mobile, AL                                                 /s/ Callie V. S. Granade
___________________________                                UNITED STATES DISTRICT JUDGE
Defendant's Mailing Address:                               August 13, 2010
___________________________                                Date
___________________________
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Judgment in a Criminal Case: Sheet 5, Part B - Continued – Schedule of Payments                  Judgment 2

AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 2 - Imprisonment

Defendant: JASON TRAVIS SMALLWOOD
Case Number: 1:06-CR-173-005

                                            IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of TWENTY-FOUR (24) MONTHS             .



        The court makes the following recommendations to the Bureau of Prisons:




X       The defendant is remanded to the custody of the United States Marshal.

        The defendant shall surrender to the United States Marshal for this district:
               at   .m. on      .
               as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau
        of Prisons:
                before 2 p.m. on      .
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.

                                                      RETURN
I have executed this judgment as follows:

__________________________________________________________________________________

__________________________________________________________________________________

__________________________________________________________________________________

Defendant delivered on                           to                                    at __________________

with a certified copy of this judgment.
                                                                            UNITED STATES MARSHAL


                                                                        By _________________________________
                                                                               Deputy U.S. Marshal
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Judgment in a Criminal Case: Sheet 5, Part B - Continued – Schedule of Payments                     Judgment 3

AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 3 - Supervised Release
Defendant: JASON TRAVIS SMALLWOOD
Case Number: 1:06-CR-173-005

                                      SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 12 months.

Special Conditions: The defendant shall participate in a program of testing and treatment
for drug and/or alcohol abuse as directed by the Probation Office; 2) The defendant is prohibited
from making major purchases, incurring new credit charges, or opening additional lines of credit
without approval of the Probation Officer, until such time as the financial obligations imposed by
this court have been satisfied in full; 3) The defendant shall provide the Probation Office access to
any requested financial information; and 4) The defendant shall make restitution as set forth on
Sheets 5, Part A & 5, Part B of this Judgment.

        For offenses committed on or after September 13, 1994: The defendant shall refrain
        from any unlawful use of a controlled substance. The defendant shall submit to one drug
        test within 15 days of release from imprisonment and at least two periodic drug tests
        thereafter, as directed by the probation officer.
                The above drug testing condition is suspended based on the court’s determination that the
                defendant poses a low risk of future substance abuse. (Check, if applicable)

        The defendant shall register with the state sex offender registration agency in the state where the
        defendant resides, works, or is a student, as directed by the probation officer. (Check, if
        applicable)
        The defendant shall participate in an approved program for domestic violence. (Check, if
        applicable)
X       The defendant shall not possess a firearm, destructive device, or any other dangerous
        weapon.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution that remains unpaid at the commencement of the term
of supervised release in accordance with the Schedule of Payments set forth in the Criminal Monetary
Penalties sheet of this judgment. The defendant shall report to the probation office in the district to
which the defendant is released within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
The defendant shall comply with the standard conditions that have been adopted by this court
(Probation Form 7A).
The defendant shall also comply with the additional conditions on the attached page (if applicable).


                                  See Page 4 for the
                       "STANDARD CONDITIONS OF SUPERVISION"
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Judgment in a Criminal Case: Sheet 5, Part B - Continued – Schedule of Payments                     Judgment 4
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 3 - Supervised Release
Defendant: JASON TRAVIS SMALLWOOD
Case Number: 1:06-CR-173-005
                                      SUPERVISED RELEASE
                        STANDARD CONDITIONS OF SUPERVISION
1) the defendant shall not leave the judicial district without the permission of the court or probation
        officer;
2) the defendant shall report to the probation officer and shall submit a truthful and complete written
        report within the first five days of each month;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
        of the prob. officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for
        schooling, training, or other acceptable reasons;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or
        employment;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
        distribute, or administer any controlled substance or any paraphernalia related to any controlled
        substances, except as prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used,
        distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate
        with any person convicted of a felony unless granted permission to do so by the probation
        officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere
        and shall permit confiscation of any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or
        questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law
        enforcement agency without the permission of the court;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be
        occasioned by the defendant's criminal record or personal history or characteristics, and shall
        permit the probation officer to make such notifications and to confirm the defendant's
        compliance with such notification requirement.
14) the defendant shall cooperate, as directed by the probation officer, in the collection of DNA, if
        applicable, under the provisions of 18 U.S.C. §§ 3563(a)(9) and 3583(d) for those defendants
        convicted of qualifying offenses.
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Judgment in a Criminal Case: Sheet 5, Part B - Continued – Schedule of Payments                       Judgment 5
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 5 Part A - Criminal Monetary Penalties

Defendant: JASON TRAVIS SMALLWOOD
Case Number: 1:06-CR-173-005

                           CRIMINAL MONETARY PENALTIES
       The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of
payments set forth on Sheet 5, Part B.

                          Assessment                           Fine                        Restitution
        Totals:           $                                    $                           $42,072.10 (less any payments
                                                                                           Previously made)

        The determination of restitution is deferred until       . An Amended Judgment in a Criminal Case (AO 245C)
        will be entered after such a determination.

X       The defendant shall make restitution (including community restitution) to the following payees in the amounts listed
        below.

If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless
specified otherwise in the priority order or percentage payment column below. (or see attached)
However, pursuant to 18 U.S.C. § 3644(i), all nonfederal victims must be paid in full prior to the United States
receiving payment.

Names and                                                       Amount of                         Priority Order or
Addresses of Payees                                             Restitution Ordered               % of Payment
Dollar General Corporation                                      $1,006.44
Attn: Tina Davis, Payment Services
100 Mission Ridge
Goodlettsville, TN 37072

(see attachment for additional payees)

TOTAL:                         $                                 $42,072.10

X       If applicable, restitution amount ordered pursuant to plea agreement. $ 42,072.10
         The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or
restitution is paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f).
All of the payment options on Sheet 5, Part B may be subject to penalties for default, pursuant to 18 U.S.C. §
3612(g).

X       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        X       The interest requirement is waived for the      fine and/or X restitution.
                The interest requirement for the    fine and/or      restitution is modified as follows:




* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United
States Code, for offenses committed on or after September 13, 1994 but before April 23, 1996.
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Judgment in a Criminal Case: Sheet 5, Part B - Continued – Schedule of Payments                                       Judgment 6

AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 5, Part B - Schedule of Payments
Defendant: JASON TRAVIS SMALLWOOD
Case Number: 1:06-CR-173-005
                                        SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

      A         X  Lump sum payment of $ 42,072.10 (less any payments previously made) due
                immediately, balance due X not later than , or in accordance with C,    D,                                       E or
                X F below; or
      B           Payment to begin immediately (may be combined with C, D, E or F below); or
      C          Payment in          (e.g., equal, weekly, monthly, quarterly) installments of $        over a
              period of        (e.g., months or years), to commence           (e.g., 30 or 60 days) after the
              date of this judgment; or
      D           Payment in          (e.g., equal, weekly, monthly, quarterly) installments of $        over a
              period of        (e.g., months or years), to commence           (e.g., 30 or 60 days) after
              release from imprisonment to a term of supervision; or
      E           Payment during the term of supervised release will commence within            (e.g., 30 or 60
              days) after release from imprisonment. The court will set the payment plan based on an
              assessment of the defendant's ability to ay at that time; or
      F X Special instructions regarding the payment of criminal monetary penalties: Restitution is due
      immediately and payable in full, and is to be paid through the Clerk, U.S. District Court. If
      full restitution is not immediately paid, any amount owing during a period of incarceration
      shall be subject to payment through the Bureau of Prison's Inmate Financial Responsibility
      Program. As a special condition of supervised release, the Probation Office shall pursue
      collection of any balance remaining at the time of release in installments to commence no later
      than 30 days after the date of release. If restitution is to be paid in installments, the court
      orders that the defendant make at least minimum monthly payments in the amount of
      $100.00; and further orders that interest shall not accrue on this indebtedness. The defendant
      is ordered to notify the court of any material change in his ability to pay restitution. The
      Probation Office shall request the court to amend any payment schedule, if appropriate.

      Unless the court has expressly ordered otherwise in the special instructions above, if this judgment
      imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
      period of imprisonment. All criminal monetary penalty payments, except those payments made
      through the Federal Bureau of Prisons' Inmate Financial Responsibility Program, are to be made to
      the clerk of court, unless otherwise directed by the court, the probation officer, or the United States
      attorney.

      The defendant will receive credit for all payments previously made toward any criminal monetary
      penalties imposed.

      X         Restitution is to be paid jointly and severally with co-defendants as set out in
                attachment.
                The defendant shall pay the cost of prosecution.
                The defendant shall pay the following court cost(s):
                The defendant shall forfeit the defendant's interest in the following property to the United
                States:
Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest, (4) fine principal;
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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Judgment in a Criminal Case: Sheet 5, Part B - Continued – Schedule of Payments                Judgment 7

Defendant: JASON TRAVIS SMALLWOOD                                                 Judgment - Page   5A
Case Number: 1:06-CR-00173-005

                                  ADDITIONAL RESTITUTION PAYEES


Names and                                          Amount of                      Priority Order
Addresses of Payees                                Restitution Ordered            or % of Payment
Bruno's/Bi-Lo                                      $        81.23
Post Office Box 725489
Atlanta, GA 31139-9923

Walgreens                                                 5,326.40
200 Wilmot Road
Deerfield, IL 60015

Wachovia Bank                                           11,528.82
Corporate Fraud Investigative Services
Post Office Box 2818
Huntersville, NC 28070

Regions Bank                                              2,365.86
Post Office Box 2527
104 St. Francis Street, 4th Floor
Mobile, AL 36602

Home Depot                                                  200.00
2455 Paces Ferry Road, C-19
Atlanta, GA 30339

Sam's Club and Wal-Mart                                 14,603.54
Department R8090
Post Office Box 1125
Lowell, AR 72745

Certegy Check Services                                    6,959.81
Attn: Michael R. Baracz
11601 Roosevelt Boulevard, TA-12
St. Petersburg, FL 33716



* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of
Title 18 for offenses committed on or after September 13, 1994 but before April 23, 1996.
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Judgment in a Criminal Case: Sheet 5, Part B - Continued – Schedule of Payments                Judgment 8

Defendant: JASON TRAVIS SMALLWOOD
Case Number: 1:06-CR-00173-005

             ADDITIONAL DEFENDANTS HELD JOINTLY & SEVERALLY LIABLE

Case Number:                                                                      Joint & Several
(including dft. number)                    Defendant Name:                        Dollar Amount:
1:06-cr-00173-001                          Gary Shane Parnell                     $168,560.77
1:06-cr-00173-002                          Shane Weston Tanner                    $162,992.97
1:06-cr-00173-003                          Aaron Michael McClure                  $142,032.01
1:06-cr-00173-004                          Candice Lynn Clark                     $137,978.18
